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 5
     Attorneys for Defendant
 6   REGINALD THOMAS
 7
                                      UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9
                                          SACRAMENTO DIVISION
10

11   UNITED STATES OF AMERICA,                 )                 NO. 2:11-cr-00216-MCE
                                               )
12         Plaintiff,                          )                 STIPULATION AND ORDER
                                               )                 TO CONTINUE SENTENCING
13   vs.                                       )
                                               )
14   REGINALD THOMAS,                          )
                                               )
15         Defendant.                          )
     __________________________________________)
16

17          Defendant REGINALD THOMAS, by and through his attorney, Colin Cooper, the UNITED
18   STATES, by and through Assistant United States Attorney Matthew Morris, hereby stipulate and
19   agree to continue the sentencing in the above-captioned case set for December 11, 2014 to
20   December 18, 2014, at 9:00 a.m.
21          The parties further stipulate and agree that the period from December 1, 2014 to December
22
     18, 2014, is excludable from calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161
23
     (h)(7)(iv) for the effective preparation of counsel.
24
            The requested continuance is based on the fact that Mr. Thomas’ sentencing cannot take
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26   place until the trial of Deshawn Ray concludes. That trial is expected to conclude during this week,

27   but the parties will need time to determine their respective sentencing positions before sentencing
28
     takes place before this court.



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 2
     DATED: December 8, 2014                            /s/ COLIN L. COOPER
 3                                               Attorney for Defendant REGINALD THOMAS
 4

 5
     DATED: December 8, 2014                            /s/ MATTHEW MORRIS
 6                                               Assistant United States Attorney
 7

 8
                                                  ORDER
 9
            GOOD CAUSE APPEARING, in that it is the stipulation of the parties: IT IS HEREBY
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11   ORDERED that the sentencing scheduled for December 11, 2014, at 9:00 a.m. is vacated and the

12   matter is set for sentencing on December 18, 2014, at 9:00 a.m.
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            IT IS SO ORDERED.
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     Dated: December 11, 2014
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